Case 3:18-cr-00152-.]AG Document 16 Filed 04/19/19 Page 1 of 7 Page|D# 62

IN THE UNITED STATES DIS'I`RIC'I` COURT
FOR THE EASTERN DISTRlC'l` OF VIRGINIA
Richmond Division
UNITED STATES OF AMERICA,
v. Criminal Action No. 3:18-cr-152-JAG

EFRAI"N AVILA FLORES,
Defendant.

.Q_P_M

Ef`rain Avila Flores moves to dismiss the one-count indictment charging him with illegal
reentry. Flores contends that the immigration court that issued his removal order lacked
jurisdiction based on a defective initial notice to appear. Because the initial notice to appear did
not render Flores’ deportation order void, the Court will deny the motion to dismiss.

l. BACKGROUND

Flores is a citizen of Guatemala. On March 27, 2012, U.S. immigration authorities served
Flores with a notice to appear, and placed him in removal proceedings The notice to appear
ordered Flores to appear on “a date to be set” at "a time to be set."l (Dk. No. ll, at 4.) On April
23, 2012, Flores attended his hearing before an immigration judge, who ordered Flores’ removal
from the United States. On May 24, 20]2, the government deported Flores to Guatemala. On
December 18, 2018, a grand jury indicted Flores for illegal reentry. Flores has moved to dismiss

his indictment.

 

l The record does not indicate whether Flores later received a notice with a time and place, but he
attended the hearing on April 23, 2012.

Case 3:18-cr-00152-.]AG Document 16 Filed 04/19/19 Page 2 of 7 Page|D# 63

ll. DlSCUSSION
A. Statutory and Regulatory Notices to Appear
The Immigration and Nationality Act (“lNA") provides a vehicle for noncitizen-defendants
to collaterally attack the validity of an underlying deportation order. See 8 U.S.C. § 1326(d). 'l`o
lodge a collateral attack in a prosecution for illegal reentry. the noncitizen must show the
following:

(l) the alien exhausted any administrative remedies that may have been available
to seek relief against the order;

(2) the deportation proceedings at which the order was issued improperly deprived
the alien of` the opportunity t`orjudicial review; and

(3) the entry of the order was fundamentally unfair.
Id.

ln this case, Flores does not argue that he has met the requirements under § 1326(d), but
instead asserts that “there is an exception to the exhaustion and deprivation of judicial review
requirement for void [deportation] orders.” (Dk. No. l4, at 14.) Flores contends that the
immigration court that issued the underlying deportation order lacked subject matter jurisdiction
because the initial notice to appear failed to specify a time and place for the removal hearings

The lllegal Immigration Rel`orm and lmmigrant Responsibility Act (“IIRIRA”) requires
immigration authorities to serve a “notice to appear” on a noncitizen subject to deportation
proceedings 8 U.S.C. § l229(a)(l). Among other requirements, the statute requires notices to
appear to include “[t]he time and place at which the proceedings will be held.” Id.
§ 1229(a)(l)(G)(i). Section 1229 does not address the jurisdiction of the immigration courts.

Af`ter Congress enacted the IIRIRA, the Attorney General promulgated regulations

governing removal proceedings Under the regulations, "[j]urisdiction vests, and proceedings

Case 3:18-cr-00152-.]AG Document 16 Filed 04/19/19 Page 3 of 7 Page|D# 64

before an lmmigration Judge commence, when a charging document is filed with the lmmigration
Court.” 8 C.F.R. § 1003.14(a). One such “charging document” is a “Notice to Appear.” Id.
§ 1003.13. The regulations set forth the requirements for the contents of notices to appear, which
largely track the statutory requirements Id. Under the regulations however, notices to appear
need only specify a time and place “where practicable.” Id. § 1003.18(b).

B. The Pereira Case

ln Pereira v. Sessions, the Supreme Court addressed notices to appear in the context ofa
statutory remedy called “cancellation of removal.” 138 S. Ct. 2105, 2107 (2018). ln certain
circumstances, nonpennanent residents may apply for cancellation of removal if they have “been
physically present in the United States for a continuous period of not less than l0 years." 8 U.S.C.
§ 1229b(b)(1). Under the INA`s stop-time rule, the period of continuous presence ends “when the
alien is served a notice to appear under section l229(a).” ld. § 1229b(d)(l ).

In Perei)'a, the Supreme Court addressed the following “narrow question": "lf the
Govemment serves a noncitizen with a document that is labeled ‘notice to appear,’ but the
document fails to specify either the time or place of the removal proceedings, does it trigger the
stop-time rule?” 138 S. Ct. at 21 lO. The Court answered that question in the negative, holding
that “[a] notice that does not inform a noncitizen when and where to appear for removal
proceedings is not a ‘notice to appear under section 1229(a)’ and therefore does not trigger the
stop-time rule." la'. Thus, the government must “provide noncitizens ‘notice’ of the infonnation,
i.e., the ‘time` and ‘place,’ that would enable them ‘to appear’ at the removal hearing in the first
place.” Id. at 2108. 'l`he Court, however, never addressed the immigration court’sjurisdiction.

ln light of Pereira, Florcs asks the Court to dismiss his indictment, using the following line

of reasoning: (l) a notice to appear that lacks a time or place is not a valid notice to appear under

Case 3:18-cr-00152-.]AG Document 16 Filed 04/19/19 Page 4 of 7 Page|D# 65

section 1229(a); (2) a notice to appear under § 1229(a) vests jurisdiction in immigration courts;
(3) an invalid notice to appear deprives the immigration court of jurisdiction; (4) a removal order
entered without jurisdiction is void; and (5) the government cannot prosecute Flores for illegal
reentry because the indictment is premised on an invalid removal order.
C. Application to Flores

Because the Attomey General cannot “sweep an explicit statutory requirement to the side,"
notices to appear must satisfy the requirements set forth in § l229(a). United States v. Rz'vera
Lopez, 355 F. Supp. 3d 428, 438 (E.D. Va. 2018) (frnding the defendant’s notice to appear
defective because it did not include a time and place). Notwithstanding Pereira`s “narrow”
holding, 138 S. Ct. at 2115, the Court assumes that Flores’ initial notice to appear was defective
because it failed to comply with § 1229(a). A defective notice to appear, however, does not deprive
an immigration court of subject matterjurisdiction.2

]. Relevcml Cases

The Fourth Circuit rejected arguments like Flores’ in two unpublished cases First, in
United States v. Perez~Are/Iano, the court explained that “Pereira did not address the question of
an immigration judge’s jurisdiction to rule on an alien’s removability. and it certainly does not
plainly undermine the jurisdiction of the [underlying] removal proceeding.” No. 18-4301, 2018

WL 6617703, at *2 (4th Cir. Dec. 17, 2018) (per curiam). Second, in Leonard v. Whilaker, the

 

2 See United States v. Vasquez Flores, No. 5:18-cr-21, 2019 WI_, 332414, at *6 (W.D. Va. Jan. 25,
2019) (“[E]ven though the court assumes under Pereira, that the [notice to appear] was defective,
that defect did not result in the immigration court’s lacking subject-matter jurisdiction nor its
orders being rendered void ab initio.”).

Case 3:18-cr-00152-.]AG Document 16 Filed 04/19/19 Page 5 of 7 Page|D# 66

court emphasized the “narrow holding” in Pereira, and rejected the defendant’s jurisdictional
argument. 746 F. App’x 269, 269-70 (4th Cir. 2018) (per curiam).3

In several cases this Court has addressed motions to dismiss based on the same arguments
advanced here. In United States v. Rivera Lopez, the Court rejected the defendant’s jurisdictional
argument even though the defendant’s notice to appear was defective, concluding that “section
1003.14 does not impose a subject-matter jurisdictional limitation.” 355 F. Supp. 3d at 438. ln
United States v. Gomez-Salinas, the Court noted that “all Courts of Appeals that have addressed
the issue, including the Fourth Circuit, have unanimously found that Pereira does not dictate that
a removal order is ultra vires where the order is based on an Initial Notice to Appear without the
date and time.” No. 2:19-cr-10, 2019 WL 1141063, at *5 (E.D. Va. Mar. 12, 2019).4 The Court
concluded that “1) the relevant statute is silent on whenjurisdiction vests in an immigration court,
2) Defendant received notice of the date and time of the hearing in accordance with the relevant
regulation, which does address when jurisdiction vests, and 3) the Supreme Court’s holding in
Pereira does not apply.” Id. at *6.

2. Jurisdiclion
Even assuming that Flores received a defective initial notice to appear, that defect did not

render Flores’ deportation order void. Section 1229(a), which defines the requirements for notices

 

3 See also In re Bermudez-Cota, 27 I. & N. Dec. 441, 443 (B.l.A. 2018) (“Had the Court intended
to issue a holding as expansive as the one advanced by the respondent, presumably it would not
have specifically referred to the question before it as being ‘narrow.’”).

4 See also id. at *5 (“[F]ar more district courts including this Court, have held that Pereira
addressed a narrow question, and its holding should not be extended beyond the stop-time rule
provision to find that immigration courts lack jurisdiction where the Notice to Appear did not
include the date and time.” (citing Um'!ed States v. Romero-Caceres, 356 F. Supp. 3d 541 , 554-55
(E.D. Va. 2018)).

Case 3:18-cr-00152-.]AG Document 16 Filed 04/19/19 Page 6 of 7 Page|D# 67

to appear, is silent about the immigration court’sjurisdiction.5 Although the regulations mention
the term “jurisdiction,” the regulations do not impose a subject matter limitation on the
immigration courts See 8 C.F.R. § 1003.14(a) (“Jurisdiction vests and proceedings before an
Immigration Judge commence, when a charging document is filed with the lmmigration Court.")
"‘[J]urisdiction’ is a term that can convey ‘many, too many, meanings.”’ Rivera Lopez, 355 F.
Supp. 3d at 438 (quoting Union Pac. R.R. Co. v. Bha'. ()fL¢)comolive Eng'rs & Tminmen, 558
U.S. 67, 81 (2009)). For example, the term “jurisdiction” in section 1003.14(a) may refer to subject
matter jurisdiction or “a mandatory component of the adjudicative process that may nonetheless
be forfeited or waived.” ld. at 439.

As the court in Rivera Lopez explained, “section 1003.14(a) is more akin to a federal
court’s local rules which (like the regulations at issue here) are the product of congressionally
delegated gap-filling authority . . . but which in no way affect the federal court’s subject-matter
jurisdiction.” ]cl. Thus_. although section 1003.14(a) “imposes a procedural requirement on

immigration authorities initiation of removal proceedings that requirement is not ‘jurisdictional’

 

5 Flores cites the llRIRA’s “transitional rules” as evidence that Congress intended notices to appear
to confer jurisdiction on the immigration courts Because Congress enacted the llRlRA in 1996
but it did not take effect until April 1, 1997, Congress included certain provisions to help with the
transition See Okpa v. INS, 266 F.3d 313, 317 (4th Cir. 2001) (“The transitional rules apply to
aliens who were involved in deportation proceedings initiated prior to April 1, 1997, and were
issued a final deportation order more than thirty days after September 30, 1996.”). Under the pre-
IIRlRA procedures immigration proceedings began with an “Order to Show Cause” and a separate
“Notice of Hearing.” The post-IIRIRA procedures however, require a notice to appear with a time
and place. IIRIRA § 309(c)(2) allowed the Attorney General to choose to apply the new IIRIRA
rules before April l, 1997. The relevant transitional rule provides “lf the Attorney General makes
such election, the notice of hearing provided to the alien . . . shall be valid . . . to confer jurisdiction
on the immigration judge.” Pub. L. No. 104-208, § 309(c)(2), 110 Stat. 3009-625, 626 (1996).
Absent binding authority to the contrary, the use of the term “jurisdiction” in the IIRIRA’s
transitional rules does not change the Court’s conclusion. Despite the language in the transitional
rules § 1229(a) sets forth the requirements for notices to appear, and it “says nothing about the
Immigration Court’s jurisdiction.” Karingithi v. th'taker, 913 F.3d 1 158, 1160 (9th Cir. 2019).

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Case 3:18-cr-00152-.]AG Document 16 Filed 04/19/19 Page 7 of 7 Page|D# 68

in the formal sense, and a defect in a notice to appear does not necessarily render a resulting
deportation order void ab im'lic)."(’ ld. Accordingly, the Court will deny the motion to dismiss
lll. CONCLUSION
ln light of the weight of authority within the Fourth Circuit and this district, the Court will
deny the motion to dismiss
'I`he Court will enter an appropriate Order.

Let the Clerk send a copy of this Opinion to all counsel of record.

 

Date; / ' 2019 lsi £ ,]
mcm°nd’ A John A.Gibney,ir./ /
United States DistrictJ ge

 

 

 

 

6 Although the record does not indicate whether Flores later received an adequate notice with a
specific time and place, he did attend a hearing on April 23, 2012. If Flores received an adequate
subsequent notice of hearing, then his deportation order would not be void for that additional
reason. See Bermudez-Cota, 27 I. & N. Dec. at 447 (“[A] notice to appear that does not specify
the time and place of an alien’s initial removal hearing vests an Immigration Judge with
jurisdiction over the removal proceedings and meets the requirements of section 239(a) of the Act,
so long as the notice of hearing specifying this information is later sent to the alien.”). The BIA
and multiple courts of appeals have endorsed this “two-step notice process” as “sufficient to meet
the statutory notice requirements” ld. at 447.

